             Case 2:21-cv-00023-RMP                  ECF No. 12          filed 06/01/21     PageID.72 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                               FILED IN THE
                                                                                                                U.S. DISTRICT COURT
                                                                  for the_                                EASTERN DISTRICT OF WASHINGTON

                                                     Eastern District of Washington
       CHARLES JOSEPH REEVIS, also known as
                                                                                                              Jun 01, 0201
             Power of the Holy People,                                                                         SEAN F. MCAVOY, CLERK

                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:21-CV-00023-RMP
 U.S DISTRICT COURT EASTERN DISTRICT OF WASHINGTON,
     SPOKANE COUNTY SUPERIOR COURT, and STATE OF
                                                                     )
   WASHINGTON DEPARTMENT OF SOCIAL AND HEALTH                        )
 BEHAVIORAL HEALTH ADMINISTRATION EASTERN STATE
                      HOSPTILE,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: This action is DISMISSED with prejudice as frivolous, malicious, and for failure to state a claim upon which relief may
’
              be granted under 28 U.S.C. § 1915(e)(2).




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                        ROSANNA MALOUF PETERSON.




Date: 6/1/2021                                                              CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Tonia Ramirez
                                                                                          (By) Deputy Clerk

                                                                            Tonia Ramirez
